Case 1:19-md-02875-RBK-SAK Document 2669 Filed 03/04/24 Page 1 of 4 PageID: 99190




                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
                           CAMDEN VICINAGE

                                             MDL No. 2875
   IN RE: VALSARTAN, LOSARTAN,
   AND IRBESARTAN PRODUCTS                   Honorable Robert B. Kugler,
   LIABILITY LITIGATION                      District Court Judge


   This Document Relates to All Actions


    DEFENDANTS ZHEJIANG HUAHAI PHARMACEUTICAL CO., LTD.,
   HUAHAI U.S., INC., PRINSTON PHARMACEUTICAL INC., AND SOLCO
    HEALTHCARE U.S., LLC’S STATEMENT IN RESPONSE TO SPECIAL
                         MASTER ORDER NO. 93
Case 1:19-md-02875-RBK-SAK Document 2669 Filed 03/04/24 Page 2 of 4 PageID: 99191




        Defendants Zhejiang Huahai Pharmaceutical Co., Ltd. (“ZHP”); Huahai U.S.,

  Inc.; Prinston Pharmaceutical Inc. (“Prinston”); and Solco Healthcare U.S., LLC

  (“Solco”) (collectively, the “ZHP Defendants”), by and through their undersigned

  counsel, hereby submit the following statement in response to Special Master Order

  No. 93 (ECF No. 2668).

        Specifically, the ZHP Defendants state that they do not contest that ZHP is

  the parent company of Prinston and Solco, regardless of the role of PrinJohnson

  Biopharm, Inc. The ZHP Defendants also state that this representation may be

  recited in the Order granting leave to file an Amended Answer.

  Dated: March 4, 2024                 Respectfully submitted,

                                       By: /s/ Jessica Davidson
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Case 1:19-md-02875-RBK-SAK Document 2669 Filed 03/04/24 Page 3 of 4 PageID: 99192




                                           Pharmaceutical Co., Ltd., Huahai U.S.,
                                           Inc., Prinston Pharmaceutical Inc., and
                                           Solco Healthcare U.S., LLC




                                       2
Case 1:19-md-02875-RBK-SAK Document 2669 Filed 03/04/24 Page 4 of 4 PageID: 99193




                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 4, 2024, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system, which will

  send a notice of electronic filing to all CM/ECF participants in this matter.

                                         /s/ Jessica Davidson
                                         Jessica Davidson (NY Bar No. 6034748)




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